                   Case 18-10467-KG            Doc 25       Filed 03/05/18       Page 1 of 3



                         IN THE UNITED STATES BANKRUPTCY COURT
                              FOR THE DISTRICT OF DELAWARE

                                                      )
In re:                                                )    Chapter 11
                                                      )
HCR MANORCARE, INC.,1                                 )    Case No. 18-10467 (KG)
                                                      )
                         Debtor.                      )
                                                      )

          NOTICE OF APPEARANCE AND REQUEST FOR SERVICE OF PAPERS

         PLEASE TAKE NOTICE that Akin Gump Strauss Hauer & Feld LLP and Blank Rome

 LLP hereby appear in the above-captioned case as counsel to RD Credit, LLC, as administrative

 agent and collateral agent (the “Prepetition Agent”) under that certain Credit Agreement dated as

 of July 17, 2017 among HCR Home Health Care and Hospice, LLC, as Borrower, HCR

 ManorCare, Inc. (the “Debtor”), HCR ManorCare Operations II, LLC, HCR ManorCare Heartland,

 LLC, Manor Care, Inc., HCR II Healthcare, LLC and HCR Healthcare, LLC, as Holdcos, and the

 several lenders from time to time parties thereto, and pursuant to Rules 2002, 9007 and 9010 of the

 Federal Rules of Bankruptcy Procedure and 11 U.S.C. §§ 102(1), 342 and 1109(b), request that all

 notices given or required to be given in this case or any related adversary proceedings and all

 papers served or required to be served in this case or any related adversary proceedings be given

 and served upon:

     AKIN GUMP STRAUSS HAUER &                                       BLANK ROME LLP
                 FELD LLP                                             Stanley B. Tarr, Esq.
           Philip C. Dublin, Esq.                              1201 North Market Street, Suite 800
            Alexis Freeman, Esq.                                  Wilmington, Delaware 19801
              One Bryant Park                                      Telephone: (302) 425-6400
        New York, New York 10036                                   Facsimile: (302) 425-6464
         Telephone: (212) 872-1000                                Email: tarr@blankrome.com
         Facsimile: (212) 872-1002
       Email: pdublin@akingump.com
      Email: afreeman@akingump.com

 1
   The last four digits of the Debtor’s federal tax identification number are 9231. The Debtor’s mailing address is
 333 N. Summit St., Toledo, OH 43604.
                Case 18-10467-KG          Doc 25       Filed 03/05/18     Page 2 of 3



        PLEASE TAKE FURTHER NOTICE that this request for notice and service includes

copies of all papers, including, but not limited to, reports, pleadings, motions, applications, notices,

orders, requests, demands, complaints, petitions, schedules, plans, disclosure statements, and

answering or reply papers, whether formal or informal, filed or transmitted in these cases or any

related adversary proceedings and that such service be by mailing one copy of each, unless

otherwise directed by the Court, to the parties listed above.

        PLEASE TAKE FURTHER NOTICE that the Prepetition Agent intends that neither this

Notice of Appearance nor any former or later pleading, claim, or suit shall waive (1) the right to

have final orders in non-core matters entered only after de novo review by the United States

District Court for the District of Delaware (the “District Court”), (2) the right to trial by jury in any

proceeding so triable in these cases or any case, controversy or proceeding related to these cases,

(3) the right to have the District Court withdraw the reference in any matter subject to mandatory

or discretionary withdrawal or (4) any other rights, claims, actions, defenses, set-offs, or

recoupments to which the Prepetition Agent is or may be entitled under agreements in law or in

equity, all of which rights, claims, actions, defenses, set-offs, or recoupments expressly are

reserved.

Dated: March 5, 2018                            BLANK ROME LLP


                                                /s/ Stanley B. Tarr
                                                Stanley B. Tarr (DE 5535)
                                                1201 North Market Street, Suite 800
                                                Wilmington, Delaware 19801
                                                Telephone:      (302) 425-6400
                                                Facsimile:      (302) 425-6464
                                                Email:          tarr@blankrome.com

                                                 -and-




                                                   2
Case 18-10467-KG   Doc 25       Filed 03/05/18   Page 3 of 3



                     AKIN GUMP STRAUSS HAUER & FELD LLP
                     Philip C. Dublin, Esq.
                     Alexis Freeman, Esq.
                     One Bryant Park
                     New York, New York 10036
                     Telephone:     (212) 872-1000
                     Facsimile:     (212) 872-1002
                     Email:         pdublin@akingump.com
                     Email:         afreeman@akingump.com

                     Counsel for RD Credit, LLC




                            3
